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                           UNITED STATES DISTRICT COURT

                               DISTRICT OF MINNESOTA


 IN RE BANC OF CALIFORNIA                            Case No. 0:18-mc-0076-WMW-KMM
 SECURITIES LITIGATION,




      DECLARATION OF JAMES GIBSON IN SUPPORT OF MEMORANDUM
 OF LAW IN OPPOSITION TO STEVEN SUGARMAN’S MOTION TO COMPEL

        I, James Gibson, declare as follows:

        1.     I am the principal and manager of Castalian Partners Value Fund LP

 (“Castalian Partners”).

        2.     I make this declaration based upon my personal knowledge of the facts set

 forth herein, upon information supplied to me by others associated with Castalian

 Partners, and upon my review of relevant documents. If called upon to testify, I could

 and would testify competently to the facts set forth herein.

        3.     I do not own, and am not affiliated with, any entity named “James Gibson,

 LLC.” To the best of my knowledge, no such entity exists.

        4.     While Castalian is often a long term investor in businesses it finds

 attractive, it also engages in the short sale of securities of companies that it believes are

 overvalued or led by dishonest managers.

        5.     Short selling is an entirely legal trading strategy, and, as detailed in

 academic literature on the topic, it provides an important service and benefit to the

 markets by exposing corporate malfeasance and fraud and keeping prices closer to
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 fundamental values when companies make misleading public statements. A true and

 correct copy of one example of an academic researcher articulating the benefits of short

 selling to the market is attached as Exhibit 1.

        6.     Castalian Partners’ research and the reasons for investment and trading

 decisions are proprietary and highly confidential. The investment process of investment

 firms, including their research, analysis, communications, strategy, and transactions,

 constitute highly coveted trade secrets.

        7.     As a manager of client funds, Castalian safeguards its clients’ privacy rights

 through, among other things, privacy policies and other written assurances to its clients.

        8.     On August 23, 2016 and September 7, 2016, respectively, Bloomberg News

 published two online articles that raised a series of red flags, including questions about

 Steven Sugarman’s ties to Jason Galanis. True and correct copies of these Bloomberg

 News articles are attached to this declaration as Exhibit 2.

        9.     After Banc of California’s stock price began to fall in the wake of these

 Bloomberg articles, I made, on behalf of Castalian Partners, the informed business

 decision to take a short position on Banc’s stock. Castalian Partners first opened a short

 position in Banc stock on August 30, 2016 – i.e., a week after the publication of the first

 Bloomberg News article profiling Steven Sugarman. Subsequently, Castalian Partners

 added to its short position and purchased options throughout September 2016. Contrary

 to Mr. Sugarman’s suggestion, Castalian Partners also purchased options expiring in

 January and November (not just October).




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            10.     These decisions by Castalian Partners were based upon a comprehensive

   market analysis that included a review of these articles and other publicly-available

   resources that demonstrated Mr. Sugarman’s ties to Jason Galanis.

            11.     Castalian Partners and I have never taken any long equity position in Banc

   of California stock. Nor did either party otherwise engage in any trading activity aimed

   at profiting from a subsequent stock price rebound after the blog post was published.

            12.     Castalian maintains its short position in Banc stock today.

           I declare under penalty of perjury under the law of the United States that the

   foregoing is true and correct.



    Dated: October 12, 2018




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